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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No. 2:19-cr-00220-JDL
                                             )
TERREL WALKER                                )


         GOVERNMENT’S MOTION FOR LEAVE TO DISMISS INDICTMENT

       The United States of America, by and through Halsey B. Frank, United States Attorney

for the District of Maine, and Meghan E. Connelly, Assistant United States Attorney, hereby

moves pursuant to Fed. R. Crim. P. 48(a) to dismiss the Indictment in the above-captioned case.

Upon further review and careful consideration of the facts and the law, the government believes

that dismissal of the Indictment would be in the best interests of justice. Counsel for the

defendant, Leonard Sharon, Esq., does not oppose this motion.


Dated: September 8, 2020                                     Respectfully submitted,

                                                             HALSEY B. FRANK
                                                             UNITED STATES ATTORNEY

                                                             /s/ Meghan E. Connelly
                                                             Assistant United States Attorney
                                                             U.S. Attorney’s Office
                                                             100 Middle Street
                                                             Portland, ME 04101
                                                             Meghan.connelly@usdoj.gov




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 8, 2020, I caused a copy of the foregoing Motion to be
electronically filed using the CM/ECF system, which will automatically send notifications of
such filing(s) to all counsel of record.

                                                    Halsey B. Frank
                                                    United States Attorney

                                                    /s/ Meghan E. Connelly
                                                    Assistant United States Attorney
                                                    U.S. Attorney’s Office
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